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                                                May 13, 2019
 Via ECF

 Hon. Shelley C. Chapman
 United States District Court
 for the Southern District of New York
 One Bowling Green, Room 623
 New York, NY 10004

             Re:      Lehman Bros. Holdings, Inc. v. PMAC Lending Services, et al.
                      (18-01842 (SCC)) – Request for Pre-Motion Conference

 Dear Judge Chapman:

        We represent Defendant PMAC Lending Services, Inc. (“PMAC”) and Reliant Mortgage
 Company, LLC (“Reliant”) (collectively, “Defendants”) in the above-referenced action and
 request a pre-motion conference pursuant to the section 2.1 of Amended Case Order (“CMO”),
 dated March 13, 2019. 1

         Under section 2.I of the CMO, any Defendant who has been served with an Additional
 Complaint, and who intends to file a motion under Federal Rule of Civil Procedure 12(b), must
 request a pre-motion conference describing the grounds for said motion. Defendants have been
 served with Additional Complaints and are included in the list of such parties in Exhibit 4 to the
 CMO. Defendants intend to move to dismiss LBHI’s claims against them under the doctrine of
 collateral estoppel and based upon Lehman Brothers Holdings Inc.’s (“LBHI”) failure to state a
 claim.

         This Court has explained, “collateral estoppel provides that ‘once a court has decided an
 issue of fact necessary to its judgment, that decision may preclude relitigaiton of the issue in a suit
 on a different cause of action involving a party to the first case.” In re Lehman Bros. Inc., No. 08-
 01420 (SCC) SIPA, 2015 WL 7451411, at *7 (Bankr. S.D.N.Y. Nov. 23, 2015) (Chapman, J.)
 (citing Allen v. McCurry, 449 U.S. 90, 94 (1980)). Collateral estoppel will apply where “(i) the
 identical issue was raised in a previous proceeding; (ii) the issue was actually litigated and decided
 in the previous proceeding; (iii) the party had a full and fair opportunity to litigate the issue; and
 (iv) the resolution of the issue was necessary to support a valid final judgment on the merits.”
 Ryan v. New York Tel. Co., 62 N.Y.2d 494, 500-01 (1984).

       The Tenth Circuit has previously presided over claims identical to those here, brought by
 LBHI against various defendants, whereby LBHI alleged breaches of Loan Servicing Agreements


 1Reliant sold its shares to PMAC in 2013, and no longer exists. PMAC is alleged to be a “successor” to Reliant.
 Reliant joins PMAC in its grounds for a Rule 12 motion to dismiss.
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                      BROWN, NERI, SMITH & KHAN LLP

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 (“LSA”) in the form of misrepresentations. LBHI alleged that it relied on said mispresentations
 in selling defective loans to RMBS Trustees and Fannie Mae and Freddie Mac. The Tenth Circuit
 ruled that LBHI’s claims, pled as claims for indemnity, were truly claims for breach of contract,
 and subject to a three-year statute of limitations period under Delaware law. Lehman Bros.
 Holdings, 660 F. App’x 554, 568-69 (10th Cir. 2016). 2 As such, LBHI’s claims, which accrued
 at the time LBHI’s predecessor, Lehman Brothers Bank, purchased the loans from the defendants,
 and which were brought more than three years after the time of accrual, were untimely. Id.
 Accordingly, LBHI’s identical claims here, subject to Delaware’s three-year statute of limitations
 period and untimely, are barred by the doctrine of collateral estoppel.

          In addition, Defendants intend to move to dismiss on the basis that LBHI fails to state a
 claim. LBHI has sued PMAC as a successor to PMC Bancorp (“PMC”). Under LBHI’s theory of
 liability, an alleged fraudulent transfer of assets by PMC resulted in a “de facto merger” of PMC
 and PMAC, or alternatively, that PMAC is a mere continuation of PMC. (Dkt. 1, ¶ 4). LBHI’s
 allegations fail to meet the required elements under Delaware law of a “de facto merger.”
 Additionally, Delaware law does not recognize liability based on a theory of “mere continuation.”
 As such, LBHI has not adequately stated a claim for successor liability against PMAC for PMC.

        Relatedly, LBHI has not sufficiently pled how PMAC is a successor for Reliant.
 Accordingly, LBHI has not adequately stated a claim for successor liability against PMAC for
 Reliant.

        This is the first request by Defendants, and thus no prior pre-motion conference requests
 were either granted or denied.


                                               Very truly yours,



                                          Amjad M. Khan
                                of BROWN, NERI, SMITH & KHAN LLP


 cc:     Counsel of Record (via ECF)




 2LBHI, a federally chartered association, is subject to the state’s law where its home office is located. Because
 LBHI’s home office is in Delaware, its claims were subject to Delaware’s statute of limitations law. Lehman
 Bros. Holdings, 660 F. App’x at 556.
